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                                       ORDERED.

         Dated: April 19, 2018




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                               Chapter 11

Pelican Real Estate, LLC, et al.                     Case No.: 6:16-bk-03817-CCJ

          Debtors.                                   Jointly Administered with:
                                                     Case No.: 6:16-bk-03820;
                                                     Case No.: 6:16-bk-03822;
                                                     Case No.: 6:16-bk-03823;
                                                     Case No.: 6:16-bk-03825;
                                                     Case No.: 6:16-bk-03827;
                                                     Case No.: 6:16-bk-03828;
                                                     Case No.: 6:16-bk-03829; and
                                                     Case No.: 6:16-bk-03830
                                             /

ORDER CONDITIONALLY APPROVING SALE PROCEDURES AND SALE NOTICE,
   SETTING DEADLINES TO OBJECT AND ASSERT CLAIMS, AND SETTING
    FINAL HEARING FOR SALE OF ENERGY CAPITAL WILCOX J.V. FREE
     AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS

          THIS CASE came before the Court without hearing upon the Liquidating Trustee's Motion

to Approve Sale Procedures, and Sale and Assignment of Joint Venture Interests in Energy Capital
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Wilcox J.V. Free and Clear of Liens, Claims, Encumbrances, and Interests (ECF No. 764) (the

“Motion”), the Court having reviewed the Motion, and good cause appearing,

          It is ORDERED:

          1.      The Court conditionally APPROVES the Sale Procedures1. In order to bid on the

Liquidating Trustee’s right, title, and interest in the JV Interests2 in the Energy Capital Wilcox,

J.V., as is, where is, with no representations or warranties of any kind, free and clear of all liens,

claims, and interests of others, a bidder must submit to the Liquidating Trustee’s counsel a

Qualifying Bid3 (which includes the requirement to bid at least $25,000.00 and the obligation to

pay a deposit of $5,000.00) by Friday, June 15, 2018, at 5:00 p.m. ET. The Liquidating Trustee

is authorized to market her right, title, and interest in JV Interests in the manner set forth in

paragraph 14(f) of the Motion. Interested Bidders must cooperate with and provide information

requested by the Liquidating Trustee and Energy Capital Wilcox JV (“ECW”). If ECW has an

objection to any of the bidders becoming Qualified Bidders, then it shall notify the Liquidating

Trustee’s counsel of the objection by Friday, June 22, 2018, at 5:00 p.m. ET, and if the objection

cannot be resolved consensually, then ECW shall file the objection with the Court requesting a

hearing on an expedited basis. In the event that the Liquidating Trustee receives more than one

Qualifying Bid, the Liquidating Trustee shall conduct an auction on Monday, July 2, 2018, at

3:00 p.m. ET4 at the offices of Broad and Cassel, LLP, One Financial Plaza, 100 S.E. 3rd Avenue,

Suite 2700, Fort Lauderdale, Florida, in accordance with the procedures set forth in the Sale

Notice.




1
  As set forth in paragraphs 14 of the Motion.
2
  As defined in paragraph 4 of the Motion.
3
  As defined in paragraph 10 of the Motion.
4
  Or at such other date and time and location if re-noticed by the Liquidating Trustee.

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          2.      The Court conditionally APPROVES the Liquidating Trustee’s Notice of

Proposed Sale of Websites (“Sale Notice”) (attached to this Order) and the auction procedures set

forth in the Sale Notice (the “Auction Procedures”). The Liquidating Trustee shall serve this

Order and the Sale Notice on all creditors and all other parties who were served with the Motion.

          3.      The hearing to approve the sale will be conducted on Tuesday, July 10, 2018, at

    2:45 p.m. ET in Courtroom 6D, 6th Floor, George C. Young Courthouse, 400 West Washington

    Street, Orlando, FL 32801 before the Honorable Cynthia C. Jackson.5

          4.      Anyone claiming a lien, claim, or other interest in the JV Interests or its proceeds,

    including the assertion of any right of first refusal for purposes of the sale, must file a response

    asserting such lien, claim, or interest by Monday, May 7, 2018 at 5:00 p.m. ET, or the claimant

    will be forever barred.

          5.      The Court’s conditional approval of the Sale Notice and the Sale Procedures will

    be final unless an objection is filed within 14 days from the entry of this Order. If an objection is

    filed, then the Court will set the objection for hearing on an expedited basis.

          6.      The Court determines that notice of the sale as provided for in the Motion and in

this Order is sufficient.


Attorney Michael D. Lessne, Esq. is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and file a proof of service within 3 days of entry of the order.




5
  Avoid delays. You are reminded that Local Rule 5073-1 restricts the entry of cellular telephones into the Courthouse
absent a specific order of authorization issued beforehand by the presiding judge, a valid Florida Bar identification
card, or pro hac vice order. Please take notice that as an additional security measure a photo ID is required for entry
into the Courthouse.

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In re:                                                 Chapter 11

Pelican Real Estate, LLC, et al.                       Case No.: 6:16-bk-03817-CCJ

         Debtors.                                      Jointly Administered with:
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                                                       Case No.: 6:16-bk-03830
                                               /

            LIQUIDATING TRUSTEE'S NOTICE OF PROPOSED SALE AND
         ASSIGNMENT OF JV INTERESTS IN ENERGY CAPITAL WILCOX, J.V.

       Maria M. Yip, Liquidating Trustee of the Smart Money Liquidating Trust (the
“Liquidating Trustee”), proposes to sell the Liquidating Trustee’s right, title, and interest in the
following described property,

         Interests in the Energy Capital Wilcox, J.V., as evidenced by the following
         subscription agreements: (a) Amended Subscription Agreement with TIF dated
         July 16, 2015, for 4 Joint Venture Participation Units of ECW (the “Units”) at
         $248,000; (b) Amended Subscription Agreement with TIF dated July 16, 2015, for
         13.5 Units at $837,000; (c) Amended Subscription Agreement with TIF dated July
         16, 2015, for 14.5 Units at $899,000; and (d) Subscription Agreement with SIF
         dated August 1, 2014, for 8 Units at $469,000; and as governed by the Energy
         Capital Wilcox, Joint Venture Agreement, dated May 1, 2014.

(the “JV Interests”), “as is, where is,” with no representations or warranties of any kind, for the
highest and best offer received in accordance with the approved Sale Procedures. Interested bidders
must submit a Qualifying Bid (defined below) on or before Friday, June 15, 2018, at 5:00 p.m.
ET (the “Qualifying Bid Deadline”). If Energy Capital Wilcox JV has an objection to any of the
bidders becoming Qualified Bidders, then it shall notify the Liquidating Trustee’s counsel of the
objection by Friday, June 22, 2018, at 5:00 p.m. ET, and if the objection cannot be resolved
consensually, then ECW shall file the objection with the Court requesting a hearing on an
expedited basis. In the event that the Liquidating Trustee receives more than one Qualifying Bid, the
Liquidating Trustee will conduct an auction (the “Auction”) on Monday, July 2, 2018, at 3:00 p.m.
ET at the offices of Broad and Cassel, LLP, One Financial Plaza, 100 S.E. 3rd Avenue, Suite 2700,
Fort Lauderdale, FL 33394 or at such or such later date, time, or location as determined and re-noticed


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by the Liquidating Trustee. The hearing to approve the sale will be conducted on Tuesday, July
10, 2018, at 2:45 p.m. ET in Courtroom 6D, 6th Floor, George C. Young Courthouse, 400 West
Washington Street, Orlando, FL 32801 before the Honorable Cynthia C. Jackson.

         A “Qualifying Bid” is a written offer that (a) is equal to or greater than $250,000.00, (b)
provides for the purchase of all or substantially all of the Liquidating Trustee’s right, title, and interest
in the JV Interests, “as is, where is,” with no representations or warranties of any kind, subject to
higher and better offers and court approval, and is accompanied by a duly executed form of agreement
that will be provided by the Liquidating Trustee upon request, (c) is accompanied by a deposit in the
amount of $5,000.00 payable in immediately available funds in the form of a wire transfer or a
certified check made payable to the Liquidating Trustee or her counsel to secure the Qualifying Bid,
which deposit shall be refunded if the Qualifying Bid is not accepted by the Liquidating Trustee as
the highest and best offer (or as a back-up offer), (d) contains financial and other information
sufficient to enable the Liquidating Trustee, in her business judgment, to evaluate and confirm to the
Liquidating Trustee’s satisfaction the offeror’s financial ability to consummate the purchase of the JV
Interests, (e) fully discloses the identity of the offeror or any entity participating in the competing
offer and discloses if the offeror has any current or intended future relationship with the Debtors’
principals or any of the principals’ insiders and/or relatives; and (f) provides that the offeror consents
to the jurisdiction of the United States Bankruptcy Court for the Middle District of Florida. Bidders
shall not be permitted to discuss their Qualifying Bids with other bidders and they shall be required
to keep their bids strictly confidential.

        If the Liquidating Trustee receives at least two Qualifying Bids by the Qualifying Bid
Deadline, then the Liquidating Trustee will conduct the Auction with the following procedures (the
“Auction Procedures”): (a) the highest Qualifying bid will be the opening bid; (b) only those making
a Qualifying Bid shall be permitted to participate in the Auction; (c) minimum bidding increments
will be $2,500.00; (d) the Liquidating Trustee may choose to accept a high bidder and additional
lower bidders as “backup bidders”; (e) with respect to payment, (i) the high bidder must pay the
high bid price by wire transfer or cashier’s check as directed by Seller within two business days
after the Auction, or (ii) in the event that the high bidder fails to timely close, then the Seller is
authorized immediately to close with the first backup bidder, and the first backup bidder must pay
the backup bid price by wire transfer or cashier’s check as directed by the Liquidating Trustee
within two business days after the Liquidating Trustee’s notification by email that the high bidder
has failed to timely close, or (iii) in the event that the first backup bidder fails to timely close, then
the Liquidating Trustee is authorized immediately to close with the second backup bidder, and the
second backup bidder must pay the backup bid price by wire transfer or cashier’s check as directed
by the Liquidating Trustee within two business days after the Liquidating Trustee’s notification
by email that the first backup bidder has failed to timely close; or (iv) the Liquidating Trustee may
have additional backup bidders, in which event such bidders will follow the same procedure; (f)
bidders may bid by telephone if they provide their phone number, authorized representative’s
name, and email address to the Liquidating Trustee’s counsel in advance of the Auction; (g) with
respect to deposits, (h) the Liquidating Trustee may retain the deposits of bidders selected as the
high bidder or as backup bidders, to be forfeited to the estate as liquidated damages in the event of
each bidder’s failure to timely close, (ii) the Liquidating Trustee will return each backup bidder’s
deposit in the event that a high bidder closes and the Bankruptcy Court approves the sale, and (iii)
any other deposits of bidders whose bids are not selected as the high bid or as backup bids will be
returned by the Liquidating Trustee within two business days after the Auction; (i) the hearing on


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the sale will occur only after the Liquidating Trustee receives the full amount of the bid from the
bidder with whom the Liquidating Trustee is closing, and the Bankruptcy Court will continue the
sale hearing if necessary to ensure this result.


        Interested bidders may contact the Liquidating Trustee’s counsel Michael D. Lessne for
further information.

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